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  7                          UNITED STATES BANKRUPTCY COURT
  8                           SOUTHERN DISTRICT OF CALIFORNIA
  9
 10   In re                                  )       ADVERSARY NO. 21-90002-LA
                                             )
 11   CUKER INTERACTIVE, LLC,                )
                                             )       WOLFE LEGAL GROUP, PC’S
 12                                          )       RESPONSE TO PLAINTIFF CUKER
                   Debtor.                   )       INTERACTIVE, LLC'S LIMITED
 13                                          )       OBJECTION TO FORM OF LODGED
                                             )       ORDER
 14   Bankruptcy Case No. 18-07363-LA11      )
      __________________________________     )
 15                                          )       (No Hearing Scheduled)
                                             )
 16   CUKER INTERACTIVE, LLC,                )       Dept: Two
                                             )       Honorable Louise DeCarl Adler
 17                 Plaintiff,               )
      v.                                     )
 18                                          )
      WOLFE LEGAL GROUP, PC,                 )
 19                                          )
                   Defendant.                )
 20                                          )
                                             )
 21   ______________________________________ )
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  1           Defendant and Counterclaimant, Wolfe Legal Group, PC (“WLG”), responds to
  2   Plaintiff Cuker Interactive, LLC’s Limited Objection to Form of Lodged Order [Docket No.
  3   108].
  4           1.     Fortunately, the parties were able to work out most of the language for the
  5   proposed order on the cross-motions for summary judgment. The only remaining disagreement
  6   is with respect to costs, as revealed by Cuker’s redlined proposed order.
  7           2.     Pursuant to Local Bankruptcy Rule 1001-5 and Appendix B to the Local
  8   Bankruptcy Rules, District Court Local Rule 54.1 applies in the Southern District Bankruptcy
  9   Court without change.
 10           3.     Local District Court Rule 54.1 provides that: “Unless otherwise ordered
 11   by the Court, or stipulated by the parties, the prevailing party is entitled to costs.” Therefore,
 12   contrary to Cuker’s objection, at least in this district, costs must be awarded to the prevailing
 13   party in the Bankruptcy Court.
 14           4.     WLG incurred deposition transcript costs of $5,925.03 in this Adversary
 15   Proceeding relating to the depositions of Deborah Wolfe, Loretta Rhea, Cuker (via Adel Atalla),
 16   and Mr. Breslauer.
 17           5.     WLG is the prevailing party. Cuker’s First Cause of Action alone sought to
 18   require WLG to return almost $61,000 of its own money to the client trust account. See Docket
 19   No. 12, ¶ 17 (“Cuker seeks judgment and an order from the Bankruptcy Court directing that
 20   WLG return $60,671.08 to WLG’s Trust Account”). WLG unequivocally prevailed as a matter
 21   of law on that First Cause of Action based on legal theories of recoupment and annulment of the
 22   automatic stay, and WLG’s sole counterclaim was for annulment of the automatic stay, on which
 23   WLG prevailed as a matter of law. These results alone vastly outweigh the slight relief that
 24   Cuker obtained on its Third Cause of Action, which was recovery of a mere $4,823.15 on
 25   account of the cost of the transcript for the Mark Henry deposition that took place in Arkansas on
 26   December 14, 2018 (the day after the petition date). Needless to say, this expensive adversary
 27   proceeding could have been avoided and resolve in its entirety without ever being filed had
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  1   Cuker been willing simply to disallow WLG’s claim in the amount of $4,823.15.1 See Hillside
  2   Enterprises v. Carlisle Corp., 69 F3d 1410, 1412-13, 1416 (where plaintiff recovered $465,000
  3   and defendant recovered $165,000, it was appropriate to award costs only to plaintiff “[b]ecause
  4   [plaintiff] won a larger judgment, it can logically be considered the prevailing party . . . .”); Ira
  5   Green, Inc. v. Military Sales & Service Co., 775 F.3d 12, 28 (1st Cir. 2014) (costs may be
  6   awarded “to a party who, though losing on some claims, substantially prevails in the case as a
  7   whole”).
  8           6.      WLG unequivocally is the prevailing party and is entitled to file a Bill of Costs
  9   pursuant to Local District Court Rule 54.1. Further, WLG should not be required to return to
 10   Cuker the sum of $4,823.15 in retainer funds until after WLG’s Bill of Costs is filed and
 11   determined, because WLG has setoff rights (not recoupment rights this time) of at least
 12   $5,923.03 against the $4,823.15 in funds that it otherwise would be required to pay over to
 13   Cuker. Accordingly, WLG’s proposed Order so provides.
 14
 15   Dated: June 1, 2022                             CURRY ADVISORS
                                                      A Professional Law Corporation
 16
                                                      /s/ K. Todd Curry
 17                                           By:     _________________________________
                                                      K. Todd Curry
 18                                                   Counsel for Defendant/Counterclaimant
                                                      Wolfe Legal Group, PC
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               Cuker claims some advantage in the Court’s reference to the bank records apparently
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      showing a transfer was initiated on December 14, 2018. Yes, but by who? The bank? Ms.
 27   Rhea? This disputed factual issue never was resolved, nor did it need to be resolved. The Court
      appropriately noted: “The Court makes no finding as to whether the recollections of Ms. Wolfe
 28   and Ms. Rhea are entirely accurate” on this point. Docket No. 101 at p. 4.

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